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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Stephen Garraty, et al.
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:23−cv−04383
                                                                    Honorable Jeffrey I
                                                                    Cummings
The Partnerships and Unincorporated Associations
Identified on Schedule A, et al.
                                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 19, 2023:


        MINUTE entry before the Honorable Jeffrey I Cummings: Plaintiff's motion for a
preliminary injunction [19] is granted. Plaintiff's filings establish that it has acted
expeditiously to protect its interests and that there remains a significant risk defendants
will transfer relevant assets beyond the Court's reach. For these reasons, as well as the
reasons provided in the whole of plaintiff's filings and as stated by the Court in connection
with entry of the TRO, the Court is persuaded that plaintiff has satisfied the requirements
for a preliminary injunction. In addition, the Court finds that the balance of harms favors
plaintiff and that a preliminary injunction serves the public interest by, among other
things, protecting consumers from the marketing of counterfeit goods. Plaintiff has also
certified and established [25] that it provided electronic notice to defendants of the
pendency of this case and provided a link to a website containing relevant case
documents, but no objection to the motion for a preliminary injunction has been filed on
behalf of any remaining defendant. In light of the voluntary dismissal of additional
defendants on 12/17/23, plaintiff shall submit an updated proposed preliminary injunction
order to the Court's proposed order inbox by 12/20/23. Plaintiff's counsel is directed to
ensure that all defendants listed on Schedule A are added to the court's docket within five
business days. The Clerk is requested to unseal any previously−sealed documents. Mailed
notice (cc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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